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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
        WAYNE PRICE,
 8                            Plaintiff,
 9         v.                                           C20-5747 TSZ
10      WASHINGTON STATE PATROL;                        ORDER
        and BENJAMIN J. CRABTREE, in his
11      official capacity,
12                            Defendants.

13
            Plaintiff’s motion, docket no. 10, for voluntary dismissal of this action is
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     GRANTED. Plaintiff’s other pending motion, docket no. 7, for leave to amend the
15
     complaint, is STRICKEN as moot. This matter is hereby DISMISSED pursuant to
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     Federal Rule of Civil Procedure 41(a)(2). The Clerk is directed to CLOSE this case and
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     to send a copy of this Order to all counsel of record.
18
            IT IS SO ORDERED.
19
            Dated this 24th day of September, 2020.
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21                                                     A
                                                       Thomas S. Zilly
22
                                                       United States District Judge
23

     ORDER - 1
